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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FT. LAUDERDALE DIVISION

                                       0:11-cv-62232-KAM

 CHELA ALMA,

           Plaintiff,

 v.

 TAKHAR COLLECTION SERVICES, LTD.,

       Defendant.
 _____________________________________/

                PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT BY CLERK

           Plaintiff, CHELA ALMA, pursuant to Rule 55(a) Fed.R.Civ.P., hereby moves the Clerk

 of this Court for an entry of Default against Defendant, TAKHAR COLLECTION SERVICES,

 LTD., for failure to serve a response to Plaintiff’s Complaint or enter an appearance in this

 action.

           Dated: November 30, 2011.


                                                    Respectfully submitted,

                                                    SCOTT D. OWENS, ESQ.
                                                    Attorney for Plaintiff
                                                    664 East Hallandale Beach Boulevard
                                                    Hallandale, FL 33309
                                                    Telephone: 954-589-0588
                                                    Facsimile: 954-337-0666
                                                    scott@scottdowens.com

                                                    By: /s/ Scott D. Owens
                                                    Scott D. Owens, Esq.
                                                    Florida Bar No. 0597651

                                 CERTIFICATE OF SERVICE
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        I HEREBY CERTIFY that on 30 November 2011, I electronically filed the foregoing

 document with the Clerk of Court using CM/ECF. I also certify that the foregoing document is

 being served this day on all counsel of record or pro se parties identified on the attached Service

 List in the manner specified, either via transmission of Notices of Electronic Filing generated by

 CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

 to receive electronically Notices of Electronic Filing.


                                                       By: /s/ Scott D. Owens
                                                       Scott D. Owens, Esq.

 SERVICE LIST:

 Counsel for Takhar Collection Services, Ltd.
 c/o CT Corporation System (Registered Agent)
 208 South LaSalle Street
 Suite 814
 Chicago, IL 60604

 Via Certified U.S. Mail.
